                                                                     Case 2:19-cv-02154-JAD-VCF Document 1 Filed 12/16/19 Page 1 of 11




                                                                 1   J. BRUCE ALVERSON, ESQ.
                                                                     Nevada Bar No. 1339
                                                                 2   KARIE N. WILSON, ESQ.
                                                                     Nevada Bar No. 7957
                                                                 3   ALVERSON TAYLOR & SANDERS
                                                                     6605 Grand Montecito Pkwy, Ste. 200
                                                                 4   Las Vegas, NV 89149
                                                                     702-384-7000 Phone
                                                                 5   702-385-7000 Fax
                                                                     Attorneys for Defendants
                                                                 6

                                                                 7                              UNITED STATES DISTRICT COURT
                                                                                                     DISTRICT OF NEVADA
                                                                 8

                                                                 9   GAYLE JONES,                                         CASE NO:

                                                                10                                Plaintiff,
ALVERSON TAYLOR & SANDERS




                                                                11   v.
                            6605 GRAND MONTECITO PKWY STE 200




                                                                12   JAMES BRANDENBURG, individually;
                                    LAS VEGAS, NV 89149




                                                                     MERCER TRANSPORTATION CO., INC., a
                                        (702) 384-7000




                                                                     foreign corporation; DOES I-X; and ROE
                                          LAWYERS




                                                                13
                                                                     CORPORATIONS INC.,
                                                                14
                                                                                             Defendants.
                                                                15   __________________________________________

                                                                16        DEFENDANT MERCER TRANSPORTATION CO., INC.’S NOTICE OF REMOVAL

                                                                17   TO:     DEBRA KEMPI, Clerk, United States District Court for the District of Nevada

                                                                18           PLEASE TAKE NOTICE that Defendant MERCER TRANSPORTATION CO., INC.

                                                                19   hereby removes to this Court the state court action entitled “GAYLE JONES, Plaintiff v. JAMES

                                                                20   BRANDENBURG, individually; MERCER TRANSPORTATION CO., INC., a foreign

                                                                21   corporation; DOES I-X; and ROE CORPORATIONS INC., Defendants,” Case No. A-19-

                                                                22   806022-C filed in the Eighth Judicial District Court for the State of Nevada, County of Clark. A

                                                                23   copy of the Complaint is attached hereto as Exhibit A. The grounds for removal are:

                                                                24   ...
                                                                                                                    1                                       KNW 26490
                                                                     Case 2:19-cv-02154-JAD-VCF Document 1 Filed 12/16/19 Page 2 of 11




                                                                 1            1.      This Court has original subject matter jurisdiction over this action pursuant to 28

                                                                 2   U.S.C. § 1332 and 28 U.S.C. §§ 1441(a)-(c), in that it is a civil action between Plaintiff, a citizen

                                                                 3   of Nevada, Defendants who are citizens of diverse residency, neither of which reside in Nevada,

                                                                 4   and the matter in controversy exceeds $75,000.00, exclusive of interest and costs, as set forth

                                                                 5   below.

                                                                 6            2.      Based upon information and belief, Plaintiff GAYLE JONES is a citizen of Clark

                                                                 7   County, Nevada, as indicated in the State of Nevada Traffic Crash Report. Plaintiff erroneously

                                                                 8   indicated in her Complaint she was a resident of Acadia Parish, Louisiana. See Complaint ¶ 1.

                                                                 9            3.      Defendant JAMES BRANDENBURG is a resident of the State of Louisiana, as

                                                                10   indicated in the State of Nevada Traffic Crash Report. Plaintiff erroneously indicated in her
ALVERSON TAYLOR & SANDERS




                                                                11   Complaint that Defendant Brandenburg was a resident of Clark County, Nevada. See Complaint
                            6605 GRAND MONTECITO PKWY STE 200




                                                                12   ¶ 2.
                                    LAS VEGAS, NV 89149
                                        (702) 384-7000




                                                                              4.      Defendant MERCER TRANSPORTATION CO., INC. is a corporation
                                          LAWYERS




                                                                13

                                                                14   incorporated in Indiana, with its principal place of business in Louisville, Kentucky.

                                                                15            5.      The   Defendants    sued   as   DOES     I through     X,   inclusive   and   ROE

                                                                16   CORPORATIONS I through X, inclusive, are fictitious parties and not relevant to the

                                                                17   determination of subject matter jurisdiction. See 28 U.S.C. § 1441(a) (stating “For purposes of

                                                                18   removal under this chapter, the citizenship of defendants sued under fictitious names shall be

                                                                19   disregarded”).

                                                                20            6.      Based upon information and belief, the amount in controversy, exclusive of

                                                                21   interest and costs, exceeds $75,000.00. Upon information and belief, Plaintiff GAYLE JONES

                                                                22   has incurred approximately $73,000.00 in past medical damages which she believes were related

                                                                23   to the subject collision. She was also provided a surgical recommendation for anterior cervical

                                                                24   discectomy and fusion at C5-6 and C6-7, with an estimated cost of $327,770.00. It is therefore

                                                                                                                       2                                         KNW 26490
                                                                     Case 2:19-cv-02154-JAD-VCF Document 1 Filed 12/16/19 Page 3 of 11




                                                                 1   expected that Plaintiff’s medical damages and the amount in controversy exceed the

                                                                 2   jurisdictional requirement.

                                                                 3          7.      Venue is appropriate in this Court pursuant to 28 U.S.C. §§ 1441(a) and 1446(a)-

                                                                 4   (b) and Local Rule 8-1. This action was originally brought in the Eighth Judicial District for

                                                                 5   Clark County, State of Nevada.

                                                                 6          8.      This notice of removal is timely filed within thirty (30) days after receipt of the

                                                                 7   paper that makes this case removable as required by 28 U.S.C. § 1446(b), in that it is filed within

                                                                 8   thirty (30) days following the service of the Summons and Complaint. Defendant MERCER

                                                                 9   TRANSPORTATION, CO., INC. was served with the Complaint on December 9, 2019. Upon

                                                                10   information and belief, Defendant BRANDENBURG has not been served with the Summons
ALVERSON TAYLOR & SANDERS




                                                                11   and Complaint.
                            6605 GRAND MONTECITO PKWY STE 200




                                                                12          12.     Pursuant to 28 U.S.C. 1446(d), Defendant has prepared and will file with the
                                    LAS VEGAS, NV 89149
                                        (702) 384-7000




                                                                     Clerk of the Eighth Judicial District Court a Notice of Removed Action.
                                          LAWYERS




                                                                13

                                                                14          Dated the 16th day of December, 2019.

                                                                15                                                        ALVERSON TAYLOR & SANDERS

                                                                16
                                                                                                                          ____________________________________
                                                                17                                                        J. BRUCE ALVERSON, ESQ.
                                                                                                                          Nevada Bar No. 1339
                                                                18                                                        KARIE N. WILSON, ESQ.
                                                                                                                          Nevada Bar No. 7957
                                                                19                                                        6605 Grand Montecito Pkwy, Ste. 200
                                                                                                                          Las Vegas, NV 89149
                                                                20                                                        702-384-7000 Phone
                                                                                                                          702-385-7000 Fax
                                                                21                                                        Attorneys for Defendants

                                                                22

                                                                23

                                                                24
                                                                                                                     3                                         KNW 26490
                                                                     Case 2:19-cv-02154-JAD-VCF Document 1 Filed 12/16/19 Page 4 of 11




                                                                 1                                    CERTIFICATE OF ELECTRONIC SERVICE

                                                                 2             I certify that on the 16th day of December, 2019, service of the above and foregoing

                                                                 3   DEFENDANTS’ NOTICE OF REMOVAL was made by electronically filing a true and

                                                                 4   correct copy of the same to each party addressed as follows:

                                                                 5   Paul D. Powell, Esq.
                                                                     paul@tplf.com
                                                                 6   Michael A. Kristof, Esq.
                                                                     mkristof@tplf.com
                                                                 7   THE PAUL POWELL LAW FIRM
                                                                     8918 Spanish Ridge Ave., Ste. 100
                                                                 8   Las Vegas, NV 89148
                                                                     702-728-5500 Phone
                                                                 9   702-728-5501 Fax

                                                                10                                                             ____________________________________
                                                                                                                               Employee of ALVERSON TAYLOR & SANDERS
ALVERSON TAYLOR & SANDERS




                                                                11
                            6605 GRAND MONTECITO PKWY STE 200




                                                                12
                                    LAS VEGAS, NV 89149
                                        (702) 384-7000
                                          LAWYERS




                                                                13

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Case 2:19-cv-02154-JAD-VCF Document 1 Filed 12/16/19 Page 5 of 11




                      EXHIBIT A
       Case 2:19-cv-02154-JAD-VCF Document 1 Filed 12/16/19 Page  6 of 11
                                                              Electronically Filed
                                                                                11/25/2019 12:57 PM
                                                                                Steven D. Grierson
                                                                                CLERK OF THE COURT

 1   COMP
     Paul D. Powell, Esq.
 2   Nevada Bar No. 7488
     Michael A. Kristof, Esq.
 3   Nevada Bar No. 7780
     Jared D. Powell, Esq.
                                                                          CASE NO: A-19-806022-C
 4   Nevada Bar No. 15086                                                          Department 23
     The Paul Powell Law Firm
 5   8918 Spanish Ridge Avenue, Suite 100
 6   Las Vegas, Nevada 89148
     paul@tplf.com
 7   mkristof@tplf.com
     jared@tplf.com
 8   Phone: (702) 728-5500
     Facsimile: (702) 728-5501
 9
     Attorneys for Plaintiff
10
                                             DISTRICT COURT
11
12                                     CLARK COUNTY, NEVADA

13   GAYLE JONES,                                             )
                                                              ) CASE NO.
14                  Plaintiff,                                ) DEPT. NO.
15          vs.                                               )
                                                              )
16   JAMES BRANDENBURG, individually;                         ) COMPLAINT
     MERCER TRANSPORTATION CO., INC., a                       )
17
     foreign corporation; DOES I-X, and ROE                   )
18   CORPORATIONS INC.                                        )
                                                              )
19                  Defendants.                               )
                                                              )
20
21          Plaintiff GAYLE JONES by and through her attorney of record, PAUL D. POWELL, ESQ.,

22   of THE PAUL POWELL LAW FIRM, complains against Defendants JAMES BRANDENBURG
23
     and MERCER TRANSPORTATION CO., INC. as follows:
24
                                                GENERAL ALLEGATIONS
25
26
            1.      Plaintiff GAYLE JONES (hereinafter “Plaintiff”) is, and at all times mentioned

27                  herein, was, a resident of the County of Acadia Parish, State of Louisiana.
28




                                                        -1-

                                      Case Number: A-19-806022-C
     Case 2:19-cv-02154-JAD-VCF Document 1 Filed 12/16/19 Page 7 of 11



 1      2.    Defendan JAMES BRANDENBURG is, and at all times mentioned herein, was, a
 2
              resident of County of Clark, State of Nevada.
 3
        3.    Defendant MERCER TRANSPORTATION CO., INC. is, and at all times mentioned
 4
              herein, was, a foreign corporation, licensed to do business in the County of Clark,
 5
 6            State of Nevada.
 7      4.    The true names and capacities of the Defendants designated herein as Doe or Roe
 8
              Corporations are presently unknown to Plaintiff at this time, who therefore sues said
 9
              Defendants by such fictitious names. When the true names and capacities of these
10
11            Defendants are ascertained, Plaintiff will amend this Complaint accordingly.

12      5.    At all times pertinent, Defendants were agents, servants, employees or joint
13            venturers of every other Defendant herein, and at all times mentioned herein were
14
              acting within the scope and course of said agency, employment, or joint venture,
15
              with knowledge and permission and consent of all other named Defendants.
16
17      6.    Defendant JAMES BRANDENBURG is, and at all times mentioned herein, was, the

18            operator of a 2013 Freightliner semi truck tractor, Nevada plate no. P907911
19
              (hereinafter “Vehicle”).
20
        7.    Upon information and belief, Defendant MERCER TRANSPORTATION CO., INC.
21
22            is was, at all times mentioned herein, the owner of the Vehicle.

23      8.    At all times mentioned herein, Defendant JAMES BRANDENBURG was driving
24            Defendant MERCER TRANSPORTATION CO., INC.’s is vehicle with permission
25
              from Defendant MERCER TRANSPORTATION CO., INC.
26
        9.    On December 20, 2018 in Clark County, Nevada, Defendant                        JAMES
27
28            BRANDENBURG was the driver of a vehicle owned by Defendant MERCER




                                                -2-
     Case 2:19-cv-02154-JAD-VCF Document 1 Filed 12/16/19 Page 8 of 11



 1            TRANSPORTATION CO., INC. – while in the course and scope of his employment
 2
              with MERCER TRANSPORTATION CO., INC. – and negligently caused a crash
 3
              with Plaintiff. Plaintiff reserves the right to name additional MERCER
 4
              TRANSPORTATION CO., INC. employees as the driver of the vehicle at the time
 5
 6            of the crash.
 7      10.   As a direct and proximate result of Defendant JAMES BRANDENBURG’s
 8
              negligence, Plaintiff sustained injuries to Plaintiff’s shoulders, back, bodily limbs,
 9
              organs and systems, all or some of which conditions may be permanent and
10
11            disabling, and all to Plaintiff’s damages in a sum in excess of $15,000.00.

12      11.   As a direct and proximate result of Defendant JAMES BRANDENBURG’s
13            negligence, Plaintiff received medical and other treatment for the aforementioned
14
              injuries, and that said services, care and treatment are continuing and shall continue
15
              in the future, all to the damages of Plaintiff.
16
17      12.   As a direct and proximate result of Defendant JAMES BRANDENBURG’s

18            negligence, Plaintiff has been required to, and has limited occupational and
19
              recreational activities, which have caused and shall continue to cause Plaintiff loss of
20
              earning capacity, lost wages, physical impairment, mental anguish, and loss of
21
22            enjoyment of life, in a presently unascertainable amount.

23      13.   As a direct and proximate result of the aforementioned negligence of all Defendants,
24            Plaintiff has been required to engage the services of an attorney, incurring attorney’s
25
              fees and costs to bring this action.
26
27
28




                                                  -3-
     Case 2:19-cv-02154-JAD-VCF Document 1 Filed 12/16/19 Page 9 of 11



 1                                    FIRST CAUSE OF ACTION
 2
        14.   Plaintiff incorporates paragraphs 1 through 13 of the Complaint as though said
 3
              paragraphs were fully set forth herein.
 4
        15.   Defendant Brandenburg owed Plaintiff a duty of care to operate the Vehicle in a
 5
 6            reasonable and safe manner. Defendant Brandenburg breached that duty of care by
 7            striking Plaintiff’s vehicle.
 8
        16.   The acts of Defendant as described herein violated the traffic laws of the State of
 9
              Nevada and Clark County.
10
11      17.   Plaintiff is in the class of individuals who are meant to be protected pursuant to the

12            statue(s) violated by Defendant.
13      18.   Defendant’s actions and statutory violation constitute negligence per se.
14
        19.   Defendant JAMES BRANDENBURG was an employee of Defendant MERCER
15
              TRANSPORTATION CO., INC. at the time of the acts complained of herein.
16
17      20.   Defendant JAMES BRANDENBURG was in the course and scope of his

18            employment with Defendant MERCER TRANSPORTATION CO., INC. at the time
19
              of the acts complained of herein.
20
        21.   Because Defendant JAMES BRANDENBURG was in the course and scope of his
21
22            employment with Defendant MERCER TRANSPORTATION CO., INC. at the time

23            of the crash, Defendant MERCER TRANSPORTATION CO., INC. is liable for
24            Defendant JAMES BRANDENBURG’s actions based on the doctrine of respondeat
25
              superior.
26
        22.   As a direct and proximate result of the negligence of Defendant Brandenburg,
27
28            Plaintiff has been damaged in an amount in excess of $15,000.00.




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      Case 2:19-cv-02154-JAD-VCF Document 1 Filed 12/16/19 Page 10 of 11



 1                                        SECOND CAUSE OF ACTION
 2
            23.     Plaintiff incorporates paragraphs 1 through 22 of the Complaint as though said
 3
                    paragraphs were fully set forth herein.
 4
            24.     Defendant MERCER TRANSPORTATION CO., INC. was the owner, or had
 5
 6                  custody and control of the Vehicle. Defendant MERCER TRANSPORTATION CO.,
 7                  INC. did entrust the Vehicle to the control of Defendant JAMES BRANDENBURG.
 8
            25.     Defendant JAMES BRANDENBURG was incompetent, inexperienced, or reckless
 9
                    in the operation of the Vehicle.
10
11          26.     Defendant MERCER TRANSPORTATION CO., INC. actually knew, or by the

12                  exercise of reasonable care, should have known, that Defendant JAMES
13                  BRANDENBURG incompetent, inexperienced, or reckless in the operation of motor
14
                    vehicles.
15
            27.     Plaintiff was injured as a proximate consequence of the negligence and
16
17                  incompetence of Defendant JAMES BRANDENBURG.

18          28.     As a direct and proximate cause of the negligent entrustment of the Vehicle by
19
                    MERCER        TRANSPORTATION              CO.,    INC.     to    Defendant     JAMES
20
                    BRANDENBURG, Plaintiff has been damaged in an amount in excess of
21
22                  $15,000.00.

23          WHEREFORE, Plaintiff expressly reserves the right to amend this Complaint prior to or at
24   the time of trial of this action, to insert those items of damage not yet fully ascertainable, and pray
25
     judgment against all Defendants, and each of them, as follows:
26
            1. For general damages sustained by Plaintiff in an amount in excess of $15,000.00;
27
28          2. For special damages sustained by Plaintiff in an amount in excess of $15,000.00;




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     Case 2:19-cv-02154-JAD-VCF Document 1 Filed 12/16/19 Page 11 of 11



 1       3. For property damages sustained by Plaintiff;
 2
         4. For reasonable attorney’s fees and costs;
 3
         5. For interest at the statutory rate; and
 4
         6. For such other further relief as the Court deems just and proper.
 5
 6              DATED this 25th day of November, 2019.
 7                                              THE PAUL POWELL LAW FIRM
 8
                                                       /s/ Michael A. Kristof
 9                                              ____________________________
                                                Paul D. Powell, Esq.
10                                              Nevada Bar No. 7488
                                                Michael A. Kristof, Esq.
11                                              Nevada Bar No. 7780
                                                Jared D. Powell, Esq.
12                                              Nevada Bar No. 15086
                                                The Paul Powell Law Firm
13                                              8918 Spanish Ridge Avenue, Suite 100
                                                Las Vegas, Nevada 89148
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